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 8                                   UNITED STATES DISTRICT COURT
 9                                   EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,
12                      Plaintiff,                           No. CR -S- 07-0109 FCD
13              v.
14   EDDIE HOUSTON, JR.,
     MARLENA M. JOHNSON,                                     RELATED CASE ORDER
15
                 Defendants.
16   ___________________________________/
17   UNITED STATES OF AMERICA,
18                      Plaintiff,                           No. CR S-07-0110        WBS
19              v.
20   ALAN SAUCEDO, CHARLES D HILL,
21               Defendants.
     ___________________________________/
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                Examination of the above-entitled actions reveals that they are related within the meaning
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     of Local Rule 83-123(a) (E.D. Cal. 1997). The actions involve many of the same defendants and
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     are based on the same or similar claims, the same property transaction or event, similar questions
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     of fact and the same questions of law, and would therefore entail a substantial duplication of
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     labor if heard by different judges. Accordingly, the assignment of the matters to the same judge
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     is likely to effect a substantial savings of judicial effort and is also likely to be convenient for the
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     parties.
               Case 2:07-cr-00109-TLN Document 14 Filed 04/04/07 Page 2 of 2


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 2          The parties should be aware that relating the cases under Local Rule 83-123 merely has
 3   the result that these actions are assigned to the same judge; no consolidation of the actions is
 4   effected. Under the regular practice of this court, related cases are generally assigned to the
 5   judge and magistrate judge to whom the first filed action was assigned.
 6          IT IS THEREFORE ORDERED that the action denominated, CR S-07-0110 is
 7   reassigned to Judge Frank C. Damrell, Jr. for all further proceedings, and any dates currently set
 8   in the reassigned case only are hereby VACATED. Henceforth, the caption on documents filed
 9   in the reassigned cases shall be shown as, CR S-07-0110 FCD. A status conference is set before
10   Judge Damrell for Monday, May 7, 2007 at 10:00 a.m.
11          IT IS FURTHER ORDERED that the Clerk of Court make appropriate adjustment in the
12   assignment of criminal cases to compensate for this reassignment.
13          IT IS SO ORDERED.
14   DATED: April 4, 2007
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                                        _______________________________________
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                                        FRANK C. DAMRELL, JR.
18                                      UNITED STATES DISTRICT JUDGE

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